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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Benjamin George,                          )
                                          )            Case No.     20-cv-06911
                     Plaintiff,           )
                                          )            Hon. Judge Blakey
v.                                        )
                                          )            Hon. Magistrate Judge Jantz
City of Chicago, James Gardiner,          )
Charles Sikanich, Chicago Police Officers )
Solomon Ing, Peter Palka, Daniel Smith, )
Bilos, Joseph Ferrara, Sergio Corona,     )
Ortiz, and Unknown Chicago Police         )
Officers,                                 )
                                          )
                     Defendants.          )            JURY TRIAL DEMANDED

DEFENDANTS GARDINER AND SIKANICH’S MOTION FOR EXTENSION OF TIME
       TO FILE RESPONSE TO PLAINTIFF’S MOTION TO COMPEL

       NOW COME the Defendants James Gardiner and Charles Sikanich, by and through their

attorney Thomas D. Carroll of Thomas R. Raines Attorney at Law, LLC and for their Motion for

Extension of Time to File Response to Plaintiff’s Motion to Compel discovery responses,

pursuant to Fed. R. 6(b)(1)(B) state as follows:

                                       INTRODUCTION

       Defendants Gardiner and Sikanich (the “Defendants”) have prepared a response to the

Plaintiff’s Motion to Compel discovery responses pursuant to Fed. R. Civ. P 37. However,

Defendants’ counsel has just realized that he made a mistake in calendaring the date for filing the

response, which was likely compounded by an illness that left him indisposed and out of the

office during much of the last week, including on the date when the Response was actually due.

Defendants request that the Court exercises its discretion to grant this motion so that the Motion




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to Compel may be decided on the merits, including providing whatever additional time Plaintiff

may need to file a Reply.

                                   FACTUAL BACKGROUND

         Plaintiff filed its Motion to Compel certain discovery responses on December 30, 2022

(the “Motion”). On January 10, 2023, the court set a briefing schedule on the Motion, ordering

Defendants to respond by January 20, 2023 and allowing a Plaintiff’s reply by January 27, 2023.

The matter is set for hearing on February 1, 2023 at 11:00 a.m.

         Defendants’ counsel, the undersigned, must have misread the order and entered the due

date for a response on January 27, 2023. Compounding the error, Defendant’s counsel fell ill

with an apparent stomach virus on January 19, 2023, and was sick for 6 days, including several

when he would normally have been in his office and might have noticed the error. It was only on

the date of filing, January 27, 2023, after having drafted a response brief, that he noticed the

error and his failure to account for the necessary time for Plaintiff to file a reply brief if he so

chose.

         Upon recognizing the error, Defendant’s counsel immediately called one of Plaintiff’s

attorneys, Joseph DiCola, and explained the situation, asking if Plaintiff would object to the

proposed extension. Mr. DiCola stated that the Plaintiff would object.

                                            ARGUMENT

         This motion should be granted because certain aspects of the oversight were beyond the

reasonable control of the movant’s attorney, the length of the delay is minimal, there is little

danger of prejudice to the Plaintiff, and the Defendants have acted in good faith and as quickly as

possible once recognizing the error.




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       The Supreme Court has set forth a four factor test, rooted in equity, for making

determinations under Rule 6(b)(1)(B). See Pioneer Investment Svcs. Co. v. Brunswick Assoc.,

Ltd. Partnership, 507 U.S. 380, 395 (1992). The factors are: (1) whether the delay was within the

reasonable control of the movant; (2) the length of the delay and the delay’s potential impact on

judicial proceedings; (3) the danger of prejudice to the non-moving party; and (4) whether the

movant acted in good faith. Based on those factors, the motion should be granted.

       First, the error in calendaring was certainly within the reasonable control of the movant’s

attorney and he has no excuse to offer beyond excusable neglect. However, his illness, arising on

January 19, 2023, very likely compounded the error by keeping him out of the office and

indisposed for several days when he might otherwise have noticed the error and filed a more

timely motion for extension. In fact, given that his illness kept him from doing much of anything

for several days, it is unlikely that he would have been able to complete a timely filing of a

response even if he had calendared it correctly. Defendant’s counsel missed parts of four

workdays in the last week between illness and medical appointments, and hopes the Court will

consider that when ruling on this motion.

       Second, the length of delay is relatively short – seven days from the appointed date.

While Defendants acknowledge that all court dates are important and that re-setting briefing and

hearing schedules is an inconvenience to be avoided whenever possible, within the scope of a

sizable case with numerous parties in which fact discovery is still open until the end of March

and no trial date has been set, a delay of a week is not likely to have a significant impact on the

overall management of the case.

       Third, there is minimal danger of prejudice to the Plaintiff if the motion is granted.

Defendants understand Plaintiff’s urgency in getting the discovery dispute resolved, and will not



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claim to speak for the Plaintiff when it comes to the risk of prejudice. But surely, whatever issues

need to be resolved and whatever the outcome of Plaintiff’s Motion to Compel, the allowance of

an extra week to resolve the matters on the merits would outweigh the risk of prejudice, and such

allowance is not likely to make a significant difference in the Plaintiff’s ability to prosecute his

case.

         Finally, Defendants certainly have not acted in bad faith as it pertains to this motion,

having had no control over their attorney’s scheduling practices, and their attorney simply made

a mistake. He regrets the error and is embarrassed by what happened, but there is no basis to

impute bad faith to his omission. Defendants’ counsel notified the Plaintiff’s attorney as soon as

the error was discovered and asked if there would be an objection. He filed this Motion within

hours of the discovery of his error.

         Defendants have included a copy of their Proposed Response with this filing.


         WHEREFORE, the Defendants, James Gardiner and Charles Sikanich pray that the

Court:

         (a) Grant their Motion for Extension of Time to file their Response to Plaintiff’s Motion

            to Compel pursuant to Rule 6(b)(1)(B);

         (b) Adjust the existing briefing schedule and hearing dates to accommodate Plaintiff’s

            anticipate Reply; and

         (c) for any additional relief that the Court deems just.




                                    [Remainder of Page Left Blank]




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                                                     Respectfully Submitted,
                                                     THOMAS R. RAINES
                                                     ATTORNEY AT LAW, LLC


                                                     /s/ Thomas D. Carroll
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Dated: January 27, 2023




                                  CERTIFICATE OF SERVICE

The undersigned, an attorney of record for the Defendants, hereby certifies that on January 27,

2023, he served a copy of the Defendants Gardiner and Sikanich’s Motion for Extension of Time

to File Response to Plaintiff’s Motion to Compel on all counsel of record by electronic means via

the Northern District of Illinois’s Electronic Case Filing (ECF) system, which notifies all

counsels and parties of record.



                                                     /s/ Thomas D. Carroll
                                                     Thomas D. Carroll




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